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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )         4:04CR3008-1
                                              )
                      Plaintiff,              )
                                              )
       vs.                                    )
                                              )         ORDER
CHRISTIAN P. FIROZ,                           )
                                              )
                      Defendant.              )

       A conference call with counsel was held.

       IT IS ORDERED that:

       (1)    The government’s motion to continue hearing (filing 113) is granted.

       (2)    The Court will take up the jurisdictional issue only in this matter on May 4,
2007, at 9:00 a.m., and one-half hour is devoted to that matter.

       (3)   On May 4, 2007, the parties shall be prepared to tell me when the evidentiary
hearing may be rescheduled to.

       May 1, 2007.                        BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge
